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   Damion D. D. Robinson (Cal Bar No. 262573)
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 2 Los Angeles, California 90067
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 4
   Attorneys for
 5 JACQUELYNN G. PERSKE

 6

 7                               UNITED STATES BANKRUPTCY COURT
 8                                CENTRAL DISTRICT OF CALIFORNIA
 9
      In re:                                          Case No. 2:16-BK-18600-RK
10
      JENS LARSEN,                                    Assigned to:
11                                                    The Honorable Robert Kwan
                                     Debtor.
12                                                    CREDITOR JACQUELYNN G. PERSKE’S
                                                      NOTICE OF OBJECTION AND OBJECTION
13                                                    TO EXEMPTIONS LISTED ON DEBTOR JENS
                                                      LARSEN’S AMENDED SCHEDULE C [Dkt. No.
14                                                    51]; MEMORANDUM OF POINTS &
                                                      AUTHORITIES; DECLARATION OF DAMION
15                                                    ROBINSON IN SUPPORT
16

17

18
               TO THE COURT, THE OFFICE OF THE UNITED STATES TRUSTEE, THE
19
     CHAPTER 7 TRUSTEE, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
20
               PLEASE TAKE NOTICE that Creditor Jacquelynn G. Perske (“Creditor”) hereby objects
21
     to Amended Schedule C to debtor Jens Larsen’s (“Debtor”) Chapter 7 Petition (Dkt. No. 51), and
22
     any exemptions claimed therein.
23
               This objection is based on this Notice of Objection and Objection, the attached
24
     Memorandum of Points and Authorities and Declaration of Damion Robinson, the records and files
25
     in this matter and in Creditor’s related adversary proceeding, and such other matters as the Court
26
     may consider.
27
               It is made on the following grounds:
28

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 1         1.      The Debtor has admitted that the horses identified as exempt or partially exempt

 2 assets do not belong to him. They do not constitute estate property, and, thus, cannot be subject to

 3 exemption.

 4         2.      Debtor has waived any claim of exemption by failing to timely file the exemptions.

 5 The claimed exemptions are California state-law exemptions, and are subject to California

 6 defenses. In re Lua, 529 B.R. 766, 775 (Bankr. C.D. Cal. 2015), rev’d on other grounds in __ F.

 7 App’x __, 2017 WL 2799989 (9th Cir. 2017). California law has long recognized waiver as a basis

 8 to deny exemptions. Hing v. Lee, 37 Cal. App. 313, 318 (1918) (“Though exemption is a personal

 9 privilege, which the judgment debtor may waive if he choose . . . either in express words or by

10 overt act, or by waiting more than a reasonable time before attempting to claim it.”)

11         3.      California’s exemption for “household goods” does not apply to thoroughbred

12 racehorses held for business or investment purposes. See Cal. Civ. Proc. Code § 703.140(b)(3)

13 (allowing exemption for household pets, “held primarily for the personal, family, or household use

14 of the debtor or a dependent.”); see also, e.g., In re Gallegos, 226 B.R. 111, 112 (Bankr. D. Idaho

15 1998) (“Any attempt to abuse the exemption, such as claiming a thoroughbred race horse as a pet,

16 is bridled not only by the ‘personal use’ requirement of the statute, but also by the $500 per item

17 limitation.”) (emphasis added); In re Cass, 104 B.R. 382, 385 (N.D. Okla. 1989).

18         4.      Debtor has failed to adequately identify the “Furniture and Appliances” and “Misc

19 Electronics” claimed as exempt. Fed. R. Bankr. P. 4003(a); In re Clark, 266 B.R. 163, 168 (9th

20 Cir. BAP 2001) (quoting Hyman v. Plotnik (In re Hyman), 967 F.3d 1316, 1319 n.6 (9th Cir. 1992),

21 also citing Seror v. Kahan (In re Kahan), 28 F.3d 79, 82 (9th Cir. 1994).

22 Dated: September 20, 2017                     Respectfully submitted,

23                                                /s/ Damion D. D. Robinson

24                                               Damion D. D. Robinson
                                                 Affeld Grivakes LLP
25

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27

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 1                             MEMORANDUM OF POINTS & AUTHORITIES

 2 I.       INTRODUCTION

 3          This case has been pending for more than a year. Initially, debtor Jens Larsen (“Debtor”)

 4 filed schedules identifying no personal property, and claiming no exemptions. He also admitted at

 5 his section 341(a) meeting and in his deposition that the racehorses he claims as his assets do not

 6 belong to him, but to a handful of limited liability companies that are not parties to this case.

 7          Now, however, Debtor has filed an Amended Schedule C, claiming exemption for personal

 8 property assets that he initially claimed he did not have, and for racehorses that are not estate

 9 property to begin with. His claimed exemptions fail because (a) he cannot exempt property that

10 does not belong to the estate, (b) the state-law exemptions that Debtor asserts do not apply to the

11 types of property that Debtor seeks to exempt, (c) he has waived any claim of exemption by failing

12 to timely assert the exemption and by concealing his assets, and (d) he has still failed to properly

13 identify the property he claims is exempt.

14 II.      FACTS AND PROCEDURAL HISTORY

15          Debtor filed this case in June 2016 in response to a state-court lawsuit by creditor

16 Jacquelynn Perske (“Creditor”). (See generally Petition, Schedules and Statement of Financial

17 Affairs [Dkt. No. 1].)

18          In his original schedules, Debtor listed as his only assets eight racehorses, identified as farm

19 animals rather than household pets. (Id. at pp. 13, 17 (Schedule A/B, Part 3, item 13, and Part 6,

20 item 47).) He did not schedule any personal property. (Id. at pp. 13-14 (Schedule A/B, Part 3).)

21          In his Schedule C, Debtor checked the box for claiming state and federal nonbankruptcy

22 exemptions, but did not list any. (Id. at p. 19 (Schedule C, Part 1).

23          At his section 341(a) meeting on August 26, 2016, Debtor admitted that he did not own the

24 racehorses listed in his schedules, and that they belong to one or more non-bankrupt LLCs:

25                 Q.       Which LLC was it that owned the horses?
                   A.       Jens Frederick Larsen and Larsen Investment.
26                 Q.       And that was all the horses that are listed in the schedules?
                   A.       That’s correct.
27                 Q.       And I supposed at the end of those LLCs, you transferred the horses to
                            yourself personally?
28                 A.       I do not own any of the horses?

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                   Q.     You don’t own any of the horses?
 1                 A.     No, I do not.
                   The Trustee: Who owns the horses?
 2                 Debtor:       They were in a corporation.
                   The Trustee: Why are they listed in your bankruptcy schedules?
 3                 Debtor:       They’re just assets that – so I turned them over to – the papers.
 4 (Declaration of Damion Robinson (“Robinson Decl.”), Ex. A at 10:24-13:16.) Debtor also

 5 confirmed at his deposition that all of the horses belong to one or more of the LLCs, and not Debtor

 6 personally. (Robinson Decl., Ex. B. at 65:1-6 (“Were the horses owned by you, or were they

 7 owned by business entities? A. Entities.”); id. at 67-11:17, 68:8-11, 68:21-69:1.)

 8          Debtor purported caused two of his LLCs organized in California to be dissolved in July

 9 2016 by filing Certificates of Cancellation and Dissolution with the California Secretary of State.

10 (Robinson Decl., Exs. C, D.) The third, organized in Arizona, remains an active business entity in

11 good standing. (Robinson Decl., Ex. E.)

12          On September 15, 2016, Debtor amended his schedules, but did not change his listing of the

13 horses or his claimed exemptions. (Dkt. Nos. 11, 12.) Creditor objected to Defendant’s

14 exemptions in May 2017. (Dkt. No. 48.)

15          When asked about his failure to disclose personal property in his schedules at his March 31,

16 2017 deposition, Debtor admitted that his schedules were “obviously” inaccurate. (Robinson Decl.,

17 Ex. B at 111:14-24.) He claimed that, prior to the deposition, he had never seen his Petition,

18 Schedules, or Statement of Financial Affairs. (Id. at 35:16-36:3.)
19          Debtor still did not amend his schedules.

20          On July 18, 2017, Creditor filed a Motion for Partial Summary Judgment in her adversary

21 proceeding, seeking denial of discharge under section 727 of the Bankruptcy Code because Debtor

22 made numerous false statements in his schedules, knowingly and fraudulently. (Perske v. Larsen,

23 Case No. 2:16-ap-01446-RK [Dkt. No. 59].) Debtor opposed the motion on August 8, and

24 Creditor filed a reply on August 15. (Id. Dkt. Nos. 81, 88.)

25          On August 21, 2017, 14 months into this case, Debtor amended his schedules, listing

26 personal property assets for the first time, identified only as “Furniture and Appliances,” “Misc
27 Electronics” and “Clothing.” (Dkt. 51 at pp. 16-17 (Schedule A/B, Part 3). The amended Schedule

28 A/B, again lists the racehorses, as well as additional foals, as farm animals and not household pets.

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 1 (Id. at pp. 13, 21-22 (Schedule A/B, Part 3, item 13 and Part 6, item 47).

 2          The amended Schedule C also now asserts a host of state-law exemptions for the first time

 3 as to both the personal property and the horses. (Id. at pp. 24-25 (Schedule C).)

 4 III.     ARGUMENT

 5          A.     The Horses Belong to Non-Bankrupt LLCs, and Are Not Estate Assets.

 6          Section 522(b)(1) allows a debtor to “exempt” certain assets “from property of the estate.”

 7 11 U.S.C. § 522(b)(1). In order to be exempted, the assets must necessarily be estate assets.

 8 “[O]bviously . . . an interest that is not possessed by the estate cannot be exempted.” Owen v.

 9 Owen, 500 U.S. 305, 308-09 (1991).

10          Estate assets are “all legal and equitable interests of the debtor as of the commencement of

11 the case.” 11 U.S.C. § 541(a)(1) (emphasis added). Whether the debtor has a legal or equitable

12 interest in property at the commencement of a case is determined by reference to state law. In re

13 Harrell, 73 F.3d 218, 219 (9th Cir. 1996).

14          As Debtor has admitted, the racehorses he lists as assets and claims to be exempt do not

15 belong to him, but to one or more non-bankrupt LLCs. As a matter of California and Arizona law,

16 the horses are not Debtor’s property or estate property, but the property of those LLCs. “A limited

17 liability company is an entity distinct from its members.” Cal. Corp. Code § 17701.04. LLCs have

18 the power to hold assets in their own names, Cal. Corp. Code § 17701.04(i), Ariz. Rev. State § 29-
19 610(A)(2). Assets of an LLC belong to the LLC, and “members of the LLC hold no direct

20 ownership interest in the company’s assets.” PacLink Commc’ns Int’l, Inc. v. Superior Court, 90

21 Cal. App. 4th 958, 964 (2001).

22          The fact that Debtor has dissolved his two California LLCs does not change matters. Under

23 California law, a dissolved LLC continues to exist for purposes of “disposing of and conveying its

24 property, and collecting and dividing its assets” for payment to creditors in compliance with the

25 Corporations Code. Cal. Corp. Code § 17707.06(a). Assets that are omitted from the winding up

26 “continue in the dissolved limited liability company for the benefit of the persons entitled thereto,”
27 including creditors. Cal. Corp. Code § 17707.06(c).

28          Dissolution of an LLC does not automatically transfer assets to the members. Instead, in

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 1 order to properly wind up an LLC, the managers or members must give written notice to all

 2 creditors, which Debtor failed to do. Cal. Corp. Code § 17707.04(a). Before distributing any

 3 assets to members, the manager must “determin[e] that all the known debts and liabilities of [the]

 4 limited liability company . . . have been paid or adequately provided for.” Cal. Corp. Code §

 5 17707.05(a). Debtor did not give written notice of the dissolution to creditors, did not make
                                                                                                    1
 6 provision for claims of creditors of the LLCs, including Creditor, and did not wind up the LLCs.

 7 (Robinson Decl., Ex. B at 69:13-23, 91:7-9, 92:22-24.)

 8           As Debtor admits, to dissolve the LLCs, he simply “filed paperwork” with the California

 9 Secretary of State, and allegedly published notice in the newspaper, although he has no records of

10 doing so. (Robinson Decl., Ex. A at 11:5-15.) Because Debtor has not collected, divided, or

11 liquidated the assets of those LLCs – i.e., the racehorses – or wound them up, the assets remain

12 property of the LLCs. Any purported distribution of assets to Debtor without complying with the

13 Corporations Code would be void ab initio, and would result in a constructive trust for the benefit

14 of creditors. Cal. Civ. Code § 3439.05, see also Cal. Civ. Code §§ 2223, 2224. In no case would

15 the dissolution result in a transfer of LLC assets to Debtor, as a member of those LLCs, without

16 provision for creditors.

17           Further, Debtor’s Arizona LLC, Jens Frederick Larsen, LLC, remains an active entity.

18 There is no basis to claim that the assets of that still-active entity somehow transferred to Debtor’s
19 estate.

20           B.     Racehorses Held for Investment Are Not Exempt Household Pets.

21           Debtor has claimed California’s “household property” exemption for all of the racehorses

22 owned by his LLCs. That exemption applies to “household furnishings, household goods, wearing

23 apparel, appliances, books, animals, crops, or musical instruments, that are held primarily for

24 personal, family, or household use.” Cal. Civ. Proc. Code § 703.140(b)(3). The few courts to

25 consider the issue have found racehorses and horses owned for breeding or investment do not to

26
     1
    Further, the dissolution was not effective in any event. A certificate of cancellation is only
27 effective if the limited liability company “does not have any debts or other liabilities,” and has
   done no business, neither of which is true in this case. Cal. Corp. Code § 17350.5(a)(3).
28

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 1 qualify as “household” animals for purposes of similar state-law exemptions. See, e.g., In re

 2 Gallegos, 226 B.R. 111, 112 (Bankr. D. Idaho 1998) (“Any attempt to abuse the exemption, such

 3 as claiming a thoroughbred race horse as a pet, is bridled not only by the “personal use”

 4 requirement of the statute, but also by the $500 per item limitation.”) (emphasis added); In re Cass,

 5 104 B.R. 382, 385 (N.D. Okla. 1989) (finding that breeding studs owned by horse breeders were

 6 not within exemption for personal property). Nor does California law exempt livestock as do some

 7 other state exemptions to the extent that racehorses could even qualify.

 8          Here, Debtor has repeatedly admitted that the horses—in addition to not being his

 9 property—are business property, not household property. He admits that he is in the business or

10 buying, breeding, and selling horses. (Robinson Decl., Ex. A at 6:15-16 (“What kind of business

11 have you been engaged in during the past year? Debtor: “I own racehorses.”); Robinson Decl., Ex.

12 B. at 13:4-19, 14:1-13.) In his schedules, he continues to list the horses as “farm animals” rather

13 than personal pets. The horses are business assets, not household property.

14          C.     Debtor Has Waived His Claim of Exemptions.

15          Where a debtor claims state-law exemptions, they are subject to state-law defenses. In re

16 Lua, 529 B.R. 766, 775 (Bankr. C.D. Cal. 2015), rev’d on other grounds in __ F. App’x __, 2017

17 WL 2799989 (9th Cir. 2017). Grounds under state law to reject a claim of exemption are also

18 available where the debtor raises the exemption in Bankruptcy Court. Id.
19          California law has long recognized waiver as a defense to the assertion of exemptions.

20 “Exemptions from execution are privileges which a judgment debtor may waive expressly or by

21 action.” In re Marriage of Thompson, 96 Cal. App. 3d 621, 625 (1979). A debtor may waive

22 exemptions “either in express words or by overt act, or by waiting more than a reasonable time

23 before attempting to claim it.” Hing v. Lee, 37 Cal. App. 313, 318 (1981); see also Boot v Boyd, 37

24 Cal. App. 545, 554-55 (1918) (finding waiver due to delay where debtor waits a month after notice

25 of seizure to claim that property is exempt).

26          Debtor has waived any claim to exemptions by engaging in unreasonable delay and bad

27 faith conduct. Not only did Debtor wait until more than a year into this proceeding to claim

28 exemptions, but he now seeks to exempt assets that he previously claimed he did not have. As the

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 1 Court is aware from Creditor’s Motion for Summary Judgment, Debtor continued to delay

 2 disclosure—and repeatedly misrepresented his assets and liabilities—even after Creditor took his

 3 deposition and moved for summary judgment denying his discharge. He has no plausible

 4 explanation for this delay of over a year.

 5          In the process, he has engaged in a host of bad faith conduct designed to conceal his

 6 finances from creditors. This has included falsely averring that he had read and understood his

 7 schedules when he had never even seen them, continuing to make false statements in discovery,

 8 and disregarding a Court order to disclose his bank accounts. A debtor cannot flout his obligations

 9 for months, only to claim the privilege of exemption at the eleventh hour.

10          D.      Debtor Has Not Properly Raised Exemptions to Personal Property.

11          As set forth in Creditor’s previous objection, Federal Rule of Bankruptcy Procedure

12 4003(a) requires the debtor to specifically identify any property subject to a claimed exemption.

13 “[A] debtor controls the schedules and bears the burden of enabling trustees and creditors ‘to

14 determine precisely whether a listed asset is validly exempt simply by reading a debtor's

15 schedules.’” In re Clark, 266 B.R. 163, 168 (9th Cir. BAP 2001) (quoting Hyman v. Plotnik (In re

16 Hyman), 967 F.3d 1316, 1319 n.6 (9th Cir. 1992), also citing Seror v. Kahan (In re Kahan), 28

17 F.3d 79, 82 (9th Cir. 1994). A non-specific exemption, which fails to identify the property at issue

18 or the basis “is without legal effect.” In re Andermahr, 30 B.R. 532, 533 (9th Cir. BAP 1983).
19          Despite the extensive delay, and Creditor’s prior objection, Debtor has still failed to

20 properly identify the personal property items that he claims are exempt. He identifies the property

21 only as, “Furniture and Appliances,” “Misc Electronics” and “Clothing.” (Dkt. 51 at pp. 16-17
                          2
22 (Schedule A/B, Part 3). This is not sufficient to allow his creditors to identify the actual property

23 involved, much less determine whether it is properly exempt. As a result, the cursory objection “is

24 without legal effect.”

25 //

26 III.     CONCLUSION

27   2
      Puzzlingly, at his deposition, Debtor testified “I have no furniture,” although he now seeks to
     exempt furniture. (Robinson Decl., Ex. B. at 111:25-112:1.)
28

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 1         Because Debtor has (a) attempted to exempt property that is not property of the estate, (b)

 2 relied on inapplicable exemptions, (c) waived his exemptions due to unreasonable delay, and (d)

 3 failed to properly assert his claimed exemptions, the exemptions should be rejected.

 4 Dated: September 20, 2017                     Respectfully submitted,
 5
                                                  /s/ Damion D. D. Robinson
 6                                               Damion D. D. Robinson
                                                 Affeld Grivakes LLP
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 1                                               DECLARATION

 2         I, Damion Robinson, declare and state as follows:

 3         1.      I am counsel of record to creditor Jacquelynn Perske in this matter and have

 4 personal knowledge of the facts herein.

 5         2.      Attached hereto as Exhibit A is a true and correct copy of a transcript of Debtor’s

 6 August 26, 2017 meeting of creditors pursuant to section 341(a) of the Bankruptcy Code.

 7         3.      Attached hereto as Exhibit B is a true and correct copy of the transcript of the first

 8 session of Debtor’s deposition taken March 31, 2017.

 9         4.      Attached hereto as Exhibit C is a true and correct copy of a Certificate of

10 Cancellation and Certificate of Dissolution of Larsen Investment Group LLC, a California limited

11 liability company, produced by Debtor in discovery.

12         5.      Attached hereto as Exhibit D is a true and correct copy of a Certificate of

13 Cancellation and Certificate of Dissolution of Frederick Investments LLC, a California limited

14 liability company, produced by Debtor in discovery.

15         6.      Attached hereto as Exhibit E is a Certificate of Good Standing from the Arizona

16 Corporation Commission for Jens Frederick Larsen LLC, an Arizona limited liability company,

17 dated June 12, 2017. I retrieved this document from the Arizona Corporation Commission website

18 on that date.
19         I declare under penalty of perjury under the laws of the United States that the foregoing is

20 true and correct.

21         Executed this 20th day of September, 2017 at Los Angeles, California.

22                                                /s/ Damion Robinson
                                                  Damion Robinson
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                                                             Exhibit B
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        1                 UNITED STATES BANKRUPTCY COURT

        2                  CENTRAL DISTRICT OF CALIFORNIA

        3                        LOS ANGELES DIVISION

        4

        5    In Re:                         )
                                            )
        6    JENS F. LARSEN, an individual, ) Case No. 2:16
                                            ) bk-18600-RK
        7              Debtor,              )
             _______________________________)
        8                                   )
             JACQUELYNN PERSKE,             )
        9                                   )
                       Plaintiff            )
       10                                   )
                            v.              )
       11                                   )
             JENS F. LARSEN, an individual, )
       12                                   )
                          Defendant.        )
       13    _______________________________)

       14

       15
                        VIDEOTAPED DEPOSITION OF JENS LARSEN
       16
                                         VOLUME I
       17

       18

       19    Date and Time:        Friday, March 31, 2017
                                   10:29 a.m. - 4:34 p.m.
      20

       21    Location:             6310 San Vicente Boulevard
                                   Suite 430
      22                           Los Angeles, California

      23
             Reporter:             Ariela Pastel, CSR
      24                           Certificate No. 13167

      25

                                   ACME REPORTING L.L.C.                         1
                                       (424) 225-2425
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        1                        The videotaped deposition of Jens

        2    Larsen, Volume I, taken on behalf of the

        3    Plaintiff, before Ariela Pastel, CSR, a Certified

        4    Shorthand Reporter for the State of California,

        5    commencing on Friday, March 31, 2017, at 10:29

        6    a.m., at 6310 San Vicente Boulevard, Suite 430,

        7    Los Angeles, California.

        8

        9    APPEARANCES OF COUNSEL:

       10

       11    For the Plaintiff:

       12                 VAN VLECK ZALLER & ROBINSON, LLP
                          BY: DAMION D.D. ROBINSON, ESQ.
       13                 6310 San Vicente Boulevard
                          Suite 430
       14                 Los Angeles, California 90048
                          310.592.3505
       15                 drobinson@vtzlaw.com

       16

       17    For the Defendant:

       18                 LAW OFFICES OF RAPEL & KELLENER
                          BY: JOSEPH W. KELLENER, ESQ.
       19                 14545 Friar Street
                          Suite 100
      20                  Van Nuys, California 91411
                          818.901.8600
       21                 joe@rkattys.com

      22

      23     ALSO PRESENT:

      24                  KIMBERLEE DECKER, VIDEOGRAPHER

      25                  STUART KLUFT

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10:34:15    1   work in 2014?

10:34:17    2               A.     In 2014 I was taking care of my

10:34:20    3   father due to his illness.

10:34:21    4               Q.     I see.     And so aside from the

10:34:24    5   writing that you were getting into, in 2014 you

10:34:28    6   didn't have a job?

10:34:28    7               A.     No.

10:34:29    8               Q.     Were you involved in the 2014 time

10:34:35    9   frame in buying and selling horses?

10:34:37   10               A.     I was -- I did own racehorses.

10:34:46   11               Q.     And the racehorses you owned, were

10:34:50   12   you buying and selling them, or were you racing

10:34:53   13   them or both?

10:34:54   14               A.     Just racing and breeding.

10:34:57   15               Q.     How long had you been doing that?

10:35:05   16               A.     I got involved in 2008.

10:35:15   17               Q.     Between 2008 and 2014, did you race

10:35:20   18   and breed horses consistently?

10:35:22   19               A.     Yes.

10:35:22   20               Q.     Did you have any other occupation

10:35:25   21   during that time frame?

10:35:27   22               A.     I was my mother's caregiver from

10:35:28   23   2009 until the day she passed away.

10:35:31   24               Q.     And when was that?

10:35:32   25               A.     May 4th, 2012.

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10:35:36    1                Q.     And then in the time frame from

10:35:40    2   May 2012 to 2014, did you have any other

10:35:44    3   occupation aside from horse racing and breeding?

10:35:46    4                A.     Just the horse breeding.

10:35:48    5                Q.     And during that time --

10:35:50    6                A.     And a caregiver for my father.

10:35:53    7                Q.     And during that time frame, from

10:35:56    8   May 2012 up through 2014, was the horse racing and

10:36:01    9   breeding your occupation?

10:36:02   10                A.     It was a source of income.

10:36:04   11                Q.     Did you have any other source of

10:36:06   12   income during that time?

10:36:08   13                A.     No.

10:36:08   14                Q.     You mentioned before writing

10:36:21   15   starting in November -- I don't think you said

10:36:26   16   November.      You mentioned writing starting end of

10:36:28   17   2014, early 2015.

10:36:31   18                       At any point in time, did you make

10:36:32   19   any income from your writing?

10:36:34   20                A.     No.

10:36:35   21                Q.     Did you ever sell a script to

10:36:36   22   anybody?

10:36:37   23                A.     No.

10:36:37   24                Q.     Did you ever produce any films of

10:36:42   25   any kind?

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10:56:21    1                A.     Yes.

10:56:23    2                Q.      About how many times have you been

10:56:26    3   sued?

10:56:26    4                A.      I can't recall.

10:56:30    5                Q.      Multiple times; right?

10:56:32    6                A.      If multiple is two.

10:56:32    7                (Whereupon, Plaintiff's Exhibit Number

10:56:32    8                4 was marked for identification by

10:56:32    9                the deposition officer and is attached

10:56:32   10                hereto.)

10:56:45   11   BY MR. ROBINSON:

10:56:45   12                Q.      I'll go ahead and hand you what

10:56:47   13   we'll mark as Exhibit 4.

10:57:17   14                        Do you recognize Exhibit 4?

10:57:21   15                A.      I have not seen this before.

10:57:23   16                Q.      Do you have an understanding of

10:57:28   17   what Exhibit 4 is?

10:57:29   18                A.      I don't understand it.          I mean, I

10:57:34   19   can give a guess.

10:57:37   20                Q.      So have you ever seen your

10:57:42   21   bankruptcy petition before?

10:57:44   22                A.      I've never gone over it, no.

10:57:47   23                Q.      Okay.    So at no point in your

10:57:52   24   bankruptcy case have you gone over the bankruptcy

10:57:55   25   petition that was filed on your behalf?

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10:58:00    1                A.     No.

10:58:00    2                Q.      Never read it?

10:58:01    3                A.      No.

10:58:04    4                Q.      Did you sign it?

10:58:05    5                A.      I did sign electrical -- electric

10:58:10    6   thing to file it.

10:58:13    7                Q.      So you signed the electric thing to

10:58:16    8   file it without having looked at the petition that

10:58:19    9   was being filed?

10:58:21   10                A.      The lawyer -- that's why he's no

10:58:24   11   longer my attorney for the bankruptcy.               He didn't

10:58:26   12   do anything correctly.          And this is the first time

10:58:27   13   I ever filed bankruptcy.           I didn't know.

10:58:34   14                Q.      Just so the record is clear, the

10:58:37   15   bankruptcy petition that's filed on your behalf,

10:58:37   16   you've never seen it before today?

10:58:40   17                A.      Not this.     I have not seen this

10:58:42   18   document until right now you put it in front of

10:58:44   19   me.

10:58:44   20                Q.      Okay.    Have you seen a document

10:58:47   21   that you understood to be your bankruptcy petition

10:58:50   22   before today?

10:58:50   23                A.      It was, like, two pages.

10:58:56   24                Q.      What were the two pages?

10:58:58   25                A.      Creditors.

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11:32:04    1                Q.     Were the horses owned by you, or

11:32:04    2   were they owned by business entities?

11:32:04    3                A.     Entities.

11:32:04    4                Q.     Which entities?

11:32:04    5                A.     I had Larsen Investment Group, Jens

11:32:04    6   F. Larsen, LLC, and Abbrie Thoroughbreds.

11:32:04    7                       DEPOSITION OFFICER:        And what

11:32:04    8   thoroughbreds?

11:32:04    9                       THE DEPONENT:       Abbrie, A-b-b-r-i-e.

11:32:29   10   BY MR. ROBINSON:

11:32:29   11                Q.     And in any of those three

11:32:29   12   companies, did you have any other members,

11:32:29   13   investors, partners, anything like that?

11:32:43   14                A.     Abbrie Thoroughbreds.         I did have

11:32:43   15   one partner, a member on the --

11:32:43   16                Q.     Who was that member?

11:32:43   17                A.     Amanda Kobrick, K-o-b-r-i-c-k.

11:32:53   18                Q.     Were you the manager of Abbrie

11:32:56   19   Thoroughbreds?

11:32:57   20                A.     We both were managers.         She was

11:33:00   21   the -- I believe the member, and I was the

11:33:05   22   manager.     I think that's how it was set up.

11:33:07   23                Q.     Did she invest money in Abbrie

11:33:09   24   Thoroughbreds?

11:33:10   25                A.     We both did, yes.

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11:34:40    1                A.     No. Yeah, I've listed everything,

11:34:47    2   yeah.

11:34:47    3                Q.     So it's Larsen Investment Group,

11:34:49    4   Jens F. Larsen --

11:34:51    5                A.     -- LLC, Abbrie Thoroughbreds.

11:34:53    6                Q.     -- and Frederick Investments?

11:34:53    7                A.     Correct.

11:34:58    8                Q.     And those are all of them in the

11:34:58    9   past five years?

11:34:58   10                A.     Yes.

11:34:58   11                Q.     What horses did Larsen Investment

11:35:04   12   Group own?

11:35:04   13                A.     At the end, they owned everything;

11:35:12   14   Congo King, Now Na Tiz (phonetic spelling), Tiz a

11:35:13   15   Dream, Tinner's Time, Sheila's Gal, Clover Gal,

11:35:24   16   Formally Yours.       I mean, there's -- I had many

11:35:27   17   horses at one time.         I can't recall all the names.

11:35:31   18                Q.     Okay.     Let me step back a second.

11:35:33   19                       Did you have any other members,

11:35:33   20   managers, or partners in Larsen Investment Group?

11:35:37   21                A.     No.

11:35:37   22                Q.     You were the only person involved

11:35:42   23   in that company?

11:35:42   24                A.     Correct.

11:35:42   25                Q.     And what about Jens F. Larsen, LLC,

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11:35:47    1   what --

11:35:47    2                A.      I was the only one.

11:35:47    3                Q.      Okay.     What about Frederick

11:35:47    4   Investments?

11:35:47    5                A.      I was the only one.         I was going to

11:35:56    6   add Jackie on to that, but then everything went

11:35:56    7   awry.

11:35:56    8                Q.      And you said before that, at the

11:35:56    9   end, Larsen Investment Group owned all the horses;

11:36:07   10   is that accurate?

11:36:07   11                A.      Yes.

11:36:07   12                Q.      When did Larsen Investment Group

11:36:07   13   own all the horses?

11:36:07   14                A.      The last year I was racing was in

11:36:07   15   2015.      Everything was sent up to the farms.              I was

11:36:21   16   going to -- I was downsizing because I couldn't

11:36:21   17   afford it.

11:36:30   18                Q.      And you eventually dissolved Larsen

11:36:33   19   Investment Group; is that right?

11:36:33   20                A.      Correct.

11:36:35   21                Q.      When you dissolved that company,

11:36:38   22   how many horses did it own?

11:36:38   23                A.      I can't recall.         If I had to guess,

11:36:47   24   it would be 10 to 12.           I'm not sure due to I don't

11:36:51   25   know what foals were born.            I mean, it could have

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11:36:56    1   went from six horses up to 12 horses overnight.

11:37:00    2               Q.     Sure.

11:37:02    3               A.     So I'm not -- I can't give you an

11:37:02    4   accurate number.

11:37:07    5               Q.     When did you dissolve Larsen

11:37:07    6   Investment Group?

11:37:07    7               A.     That was early -- I did them all

11:37:12    8   early 2016.      I think I sent the paperwork late

11:37:12    9   2015, early 2016.

11:37:20   10               Q.     And when you dissolved Larsen

11:37:20   11   Investment Group, you did that by -- strike that.

11:37:26   12   Let me step back.

11:37:26   13                      Larsen Investment Group was an LLC;

11:37:26   14   correct?

11:37:26   15               (The deponent nodded.)

11:37:32   16   BY MR. ROBINSON:

11:37:32   17               Q.     Okay.     And when you dissolved it,

11:37:32   18   you sent paperwork in to the Secretary of State?

11:37:32   19               A.     Correct.

11:37:32   20               Q.     Okay.     Did you do anything else in

11:37:43   21   connection with dissolving the company?

11:37:43   22               A.     No.     Just filing it, like you have

11:37:43   23   to, in the newspaper.

11:37:43   24               Q.     You filed it in the newspaper?

11:37:43   25               A.     Yeah.

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12:59:28    1                Q.     Did you also dissolve Jens

12:59:30    2   Frederick Larsen, LLC at that time?

12:59:34    3                A.      Correct.

12:59:34    4                Q.      Did you file paperwork with the

12:59:36    5   Secretary of State?

12:59:36    6                A.      Of Arizona, yes.

12:59:38    7                Q.      Did you give notice to any of your

12:59:41    8   creditors of that company?

12:59:42    9                A.      I had no creditors.

12:59:45   10                Q.      So when you dissolved Jens

12:59:47   11   Frederick Larsen, LLC, it had no creditors?

12:59:51   12                A.      I owed no money to anyone.

12:59:54   13                Q.      And did you publish the notice of

12:59:57   14   dissolution?

12:59:57   15                A.      Arizona, I don't think you have to

12:59:59   16   do that.      You just have to file the paperwork with

13:00:01   17   them.

13:00:01   18                Q.      At some point, did Jens Frederick

13:00:07   19   Larsen, LLC own horses?

13:00:10   20                A.      Jens F. Larsen, LLC is what it is.

13:00:13   21                Q.      I see.     So let me stop you there

13:00:15   22   for a second.       So the entity -- the formal entity

13:00:17   23   name is Jens F. Larsen, LLC?

13:00:22   24                A.      Correct.

13:00:22   25                Q.      Have you ever had an entity called

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13:00:22    1   Jens Frederick Larsen, LLC?

13:00:25    2                A.    No.     I believe it was Jens F.

13:00:28    3   Larsen, LLC.

13:00:30    4                Q.    And did that entity ever own any

13:00:32    5   horses?

13:00:33    6                A.    Yeah.     In the past, yes.

13:00:34    7                Q.    When was the last time that entity

13:00:37    8   owned horses?

13:00:38    9                A.    2012, '13.

13:00:43   10                Q.    And did you dissolve the entity

13:00:44   11   Frederick Investments, LLC?

13:00:46   12                A.    Correct, yes.

13:00:47   13                Q.    When did you dissolve that company?

13:00:48   14                A.    The same time as Larsen Investment

13:00:51   15   Group.

13:00:51   16                Q.    End of 2015, early 2016?

13:00:53   17                A.    Correct.

13:00:54   18                Q.    Did you give notice to any

13:00:55   19   creditors of Frederick Investment?

13:00:57   20                A.    The same as I did, through the

13:01:01   21   newspaper.

13:01:01   22                Q.    I see.     So you didn't mail notice

13:01:03   23   to anyone?

13:01:03   24                A.    No.

13:01:04   25                Q.    But you caused the notice of

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13:19:15    1                A.     No. I mean, the smoke shop with

13:19:21    2   Jackie, but that was under Frederick Investments.

13:19:24    3                Q.     Did you file any paperwork with the

13:19:26    4   Secretary of State to form any kind of legal

13:19:29    5   entity in 2015?

13:19:30    6                A.     For LLC, no.      Just -- no.

13:19:33    7                Q.     And what about in 2016, did you

13:19:36    8   file any paperwork to start a legal entity of any

13:19:38    9   kind?

13:19:39   10                A.     A legal entity, no.

13:19:41   11                Q.     What about a corporation?

13:19:45   12                A.     No.    I was entering bankruptcy.             I

13:19:48   13   wasn't doing anything.

13:19:53   14                Q.     And if I could have you turn to

13:19:56   15   Page 13 of your schedules and carrying over to

13:20:06   16   Page 14, on Items 6 through 14, it asks about

13:20:10   17   household items, things like that.

13:20:13   18                       I assume, at the time you filed for

13:20:16   19   bankruptcy, you had some clothes, furniture,

13:20:19   20   things of that nature?

13:20:21   21                A.     Of course.

13:20:22   22                Q.     So this is just not accurate;

13:20:25   23   right?

13:20:25   24                A.     I obviously have a cell phone.           I

13:20:32   25   don't have any antiques, no pistols.             I have no

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13:20:40    1   furniture.

13:20:43    2               Q.     Did you have any jewelry at the

13:20:46    3   time you filed for bankruptcy?

13:20:47    4               A.     I don't wear jewelry, no.

13:20:48    5               Q.     At some point, I think I saw in

13:20:51    6   text messages that you were offering to give

13:20:53    7   Jackie a bracelet, a 1500-dollar bracelet.

13:20:56    8               A.     Yeah.     I bought her a -- no, I

13:20:58    9   didn't give it.      I bought her as a gift.

13:21:00   10               Q.     Oh, I see.      Okay.

13:21:01   11               A.     And then she wanted me to take it

13:21:03   12   back to get it resized.         And then I don't know

13:21:09   13   what she did with it.         She took it to go get

13:21:12   14   resized.

13:21:13   15                      I gave that to her at -- it was

13:21:15   16   actually at Boa's Steakhouse.              I remember the

13:21:20   17   night very clearly.

13:21:24   18               Q.     Going on, on Page 14, it lists some

13:21:28   19   bank accounts here.

13:21:30   20                      Do you see that?

13:21:30   21               A.     Yes.     On the bottom?

13:21:33   22               Q.     Yeah.     So 14 carrying over to 15.

13:21:38   23               A.     Yep.

13:21:38   24               Q.     Were those bank accounts that were

13:21:44   25   owned either by you or your business entities?

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                                                             Exhibit C
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 Pl. 0176
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 Pl. 0177
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 Pl. 0174
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 Pl. 0175
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                                            Office of the
                          CORPORATION COMMISSION
                            CERTIFICATE OF GOOD STANDING
   To all to whom these presents shall come, greeting:

      I, Ted Vogt, Executive Director of the Arizona Corporation Commission, do hereby certify
   that

                            ***JENS FREDERICK LARSEN LLC***

   a domestic limited liability company organized under the laws of the State of Arizona, did
   organize on the 7th day of May 2013.



       I further certify that according to the records of the Arizona Corporation Commission, as
   of the date set forth hereunder, the said limited liability company is not administratively
   dissolved for failure to comply with the provisions of A.R.S. section 29-601 et seq., the
   Arizona Limited Liability Company Act; and that the said limited liability company has not
   filed Articles of Termination as of the date of this certificate.



      This certificate relates only to the legal existence of the above named entity as of the date
   issued. This certificate is not to be construed as an endorsement, recommendation, or
   notice of approval of the entity's condition or business activities and practices.


                               IN WITNESS WHEREOF, I have hereunto set my hand and affixed
                               the official seal of the Arizona Corporation Commission. Done at
                               Phoenix, the Capital, this 12th day of June, 2017, A. D.




                                          ____________________________________
                                          Ted Vogt, Executive Director

                                                      1675799
                                            By: ___________________________


Pl. 0178
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2049 Century Park East, Suite 2460, Los Angeles, California 90067

A true and correct copy of the foregoing document(s) entitled (specify):

CREDITOR JACQUELYNN G. PERSKE’S NOTICE OF OBJECTION AND OBJECTION
TO EXEMPTIONS LISTED ON DEBTOR JENS LARSEN’S AMENDED SCHEDULE C [Dkt. No.
51]; MEMORANDUM OF POINTS & AUTHORITIES; DECLARATION OF DAMION ROBINSON IN SUPPORT

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 20, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

See Attached Service List.

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) September 20, 2017, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

The Honorable Robert N. Kwan
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1682
Los Angeles, CA 90012

See Attached Service List

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) #########, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 Sept. 20, 2017                    Damion Robinson                                              s/ Damion Robinson
 Date                           Printed Name                                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                In re JENS LARSEN
                                 2:16-bk-18600-RK

                                    Service List

Party                                 Address / Means of Service

To the Court                          By Mail:
                                      The Honorable Robert N. Kwan
                                      United States Bankruptcy Court
                                      Central District of California
                                      Edward R. Roybal Federal Building and
                                      Courthouse
                                      255 E. Temple Street, Suite 1682
                                      Los Angeles, CA 90012

To the Debtor                         By NEF (Electronic Delivery)
                                      Matthew D Resnik
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                                      Joseph W. Kellener
                                      Kellener & Kellener, Law Offices
                                      6315 Van Nuys Bvd, Ste A3
                                      Van Nuys, CA 91401
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To the Chapter 7 Trustee              By NEF (Electronic Delivery)
                                      Edward M Wolkowitz (TR)
                                      Levene Neale Bender Yoo & Brill LLP
                                      800 South Figueroa Street, Suite 1260
                                      Los Angeles, CA 90017
                                      Tel: (310) 229-3367
                                      Email: emwtrustee@lnbrb.com;
                                      ewolkowitz@ecf.epiqsystems.com

                                      Carmela Pagay
                                      Levene Neale Bender et al
                                      10250 Constellation Bl Ste1700
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                                          Tel: 310-229-1234
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                                          Diane C Weil
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To the United States Trustee              By NEF (Electronic Delivery)
                                          915 Wilshire Blvd, Suite 1850
                                          Los Angeles, CA 90017
                                          Tel: (213) 894-6811
                                          Email: ustpregion16.la.ecf@usdoj.gov
